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    Exhibit B
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                                                                                                                                                       1
        FAO Schwarz                                                                            Benjamin   Home      Create




FAO Schwarz
@FAO

Home

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                           Like         Follow      Share                                                         Shop Now                        Send Message
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                               FAO Schwarz                                                                 Community                                             See All
Events
                               1 hr ·
                                                                                                                 Invite your friends to like this Page
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                       "That Big piano is back." We'll leave the rest to imagination. Cc: MONEY
                                                                                                                 54,103 people like this
                       #ReturnToWonder
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                                                                                                                 52,546 people follow this


                                                                                                           About                                                 See All

                                                                                                                 Typically replies within a day
                                                                                                                 Send Message

                                                                                                                 www.FAO.com

                                                                                                                 Shopping & Retail · Games/Toys

                                                                                                                 Price Range $$

                                                                                                                 Hours 9:00 AM - 9:00 PM
                                                                                                                 Open Now

                                                                                                                 Popular hours


                       TIME.COM                                                                           Mon      Tue       Wed     Thu         Fri       Sat     Sun
                       FAO Schwarz Has Been Resurrected Just in Time for the
                       Holidays. See What the Iconic Toy Store Looks Like Now

                                  195                                           8 Comments 16 Shares
                                                                                                          6AM     9AM     12PM     3PM     6PM     9PM     12AM     3AM

                                                                                                                 Suggest Edits
                                    Like                Comment                  Share


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                               Write a comment...
                                                                                                                         Chute Gerdeman                          Like
                               Mary Parsons Zieglgansberger MERRY CHRISTMAS!!!!!! Happy
                               Hanukkah too! That is such great news that FAO Schwarz is
                               BACK!!!!!!
                               Like · Reply · 9m                                                                         MOSCHINO - the offici…                  Like


                               Francesca Petrungaro I was in the other shop the one on the 5
                               street, a magical place .. awesome
                               Like · Reply · 57m                                                                        Babies"R"Us                             Like


                               Tracy Sims Peggy Cox Phillips
                               Like · Reply · 1h
                                                                                                           Related Pages
                               Francesca Petrungaro


                                                                                                            Chat (Off)
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                                                                                                                                             1
        FAO Schwarz                                                                         Benjamin   Home      Create
                                                                                                                      Toys''R''Us
                                                                                                                                                            Like
                                                                                                                      Retail Company



                                                                                                                      The Plaza Hotel
                                                                                                                                                            Like
                                                                                                                      Hotel




                                                                                                                      Rockefeller Center
                                                                                                                                                            Like
                                                                                                                      Cultural Center

                              Like · Reply · 55m
                                                                                                        See More

FAO Schwarz                   Lisa Williams Meads Walter A. Meads

@FAO                          Like · Reply · 1h                                                         English (US) · Español · Português (Brasil) ·
                                                                                                        Français (France) · Deutsch
Home                          Kelly McClean Yasmin
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                              Like · Reply · 38m
About                                                                                                   Cookies · More
                                                                                                        Facebook © 2018
                              Demi O'Neill Lisa Brown
Photos                                                       1
                              Like · Reply · 1h
Videos
                              Laury Laury Mauricio Portillo        1
Events
                              Like · Reply · 54m
  See more

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                                   Write a post...



                            Photo/Video              Tag Friends       Check in



                              FAO Schwarz
                              3 hrs ·

                       Our beloved toy store is bringing the magic to 30 Rockefeller Plaza as it has
                       us #ReturnToWonder here in #NYC and we want YOU to be a part of it. Cc:
                       TicToc




                       BLOOMBERG.COM
                       FAO Schwarz Returns to New York
                       Iconic New York toy store FAO Schwarz is making its Manhattan comebac…

                            28


                                  Like                    Comment                 Share


                               Write a comment...



                              FAO Schwarz
                              7 hrs ·                                                                    Chat (Off)
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                       "The store’s background noise including the sounds of Santa’s workshop,                            1
        FAO Schwarz                                                                          Benjamin
                       with tiny hammering and the whir of a small machine. The air smelled of pine
                                                                                                        Home     Create

                       scent, and #FAO’s trademark giant plush animals greeted visitors near the
                       front door." Cc: New York Daily News stood on line this past Friday with the
                       rest of the crowd anticipating our big opening... and it was worth it
                       #ReturnToWonder




FAO Schwarz
@FAO

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Photos
                       NYDAILYNEWS.COM

Videos                 Back for Christmas, venerable toy store FAO Schwarz ends
                       three-year absence with return to Rockefeller Center - NY…
Events
  See more                        197                                           4 Comments 17 Shares


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                       Most Relevant


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                               Ashley Sheree We need another store in Chicago
                               Like · Reply · 5h

                             Jennifer Tarantino Turner



                               Like · Reply · 3h

                       View 2 more comments



                               FAO Schwarz
                               18 hrs ·

                       "FAO Schwarz toy soldiers are stationed outside of the 49th street entrance,
                       outfitted in brand new uniforms designed by International Supermodel Gigi
                       Hadid. This new uniform, which will be worn at all FAO stores internationally,
                       draws from Gigi's own nostalgia of childhood visits to the toy store and
                       incorporates whimsical elements including a special "Medal of Honor" is
                       worn on the left pocket adorned with the meaningful words 'Celebrate,
                       Wonder, Discover, Share, Together.'" Cc: Boston Business Journal
                       celebrated our #ReturnToWonder

                       BIZJOURNALS.COM
                       FAO Schwarz Returns to New York With A New Flagship Toy
                       Store - Boston Business Journal
                       FAO Schwarz Returns to New York With A New Flagship Toy Store The
                       iconic brand opens on November 16 at 30 Rockefeller Plaza with…

                             38                                                  3 Comments 2 Shares


                                    Like                 Comment                 Share


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                                                                                                          Chat (Off)
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                              Alison Neville Met one today!                                                           1
        FAO Schwarz                                                                     Benjamin    Home     Create




                                                          3
                              Like · Reply · 18h
FAO Schwarz
@FAO                          Lauren Rayer DiBlasi


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                                                      2
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                       View 1 more comment



                              FAO Schwarz
                              19 hrs ·

                       Highlighting a demonstration by our awesome #toydemonstrator Magic
                       Plastic is already drawing a crowd during grand opening weekend. Right
                       across the way is also our Transformer section!#transformers
                       @transformersofficial
                       .
                       .
                       .
                       #ReturnToWonder #NewYork #rockefellercenter... See More




                            18                                                  1 Comment 1 Share     Chat (Off)
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                                                                                                                         1
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                                                                                           Benjamin    Home     Create



                       Most Relevant


                               Write a comment...


                               Jade Sturmhoevel Do you have the muppet workshop?
                                                                                    1
                               Like · Reply · 9h



                               FAO Schwarz
                               19 hrs ·
FAO Schwarz            Having fun on the plaza with our always amazing Toy Soldiers! Another
@FAO                   great picture from opening weekend! #ReturnToWonder
                       Thanks!@beckyewchuk #Repost
Home                   ・・・
                       A big thank you to @faoschwarz for being so kind to our Lana during their
About
                       grand opening on Friday! We had SUCH a blast, and I’m certain that Lana
Photos                 will remember all of this for DECADES to come!
                       #faoschwarz #returntowonder #rockefellercenter #online_newyork
Videos                 #what_i_saw_in_nyc #icapture_nyc #travel_nyc
Events
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                             69                                                  2 Comments 3 Shares


                                   Like                Comment                  Share


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                               Write a comment...


                               Kenneth C Hartzog He was our FAO Soldier for our tour on
                               December 24, 2014! Hope to see him again when we visit at
                               Christmas this year!


                                                                                                         Chat (Off)
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                                                                                                            1
        FAO Schwarz                                                            Benjamin   Home     Create




                                                                           1
                            Like · Reply · 18h


                            Bill Varney Best soldier yet! That mustache!
FAO Schwarz                 Like · Reply · 19h
@FAO

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